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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
                                        _
                                          )
U.S. SECURITIES AND EXCHANGE              )
COMMISSION,                               )
                                          )
                        Plaintiff,        )    Civil Action No. 18-CV-5587
                                          )
                 v.                       )    Hon. John Z. Lee
                                          )
EQUITYBUILD, INC., et al.,                )
                                          )
                        Defendants.       )
                                          )

                INDEX OF EXHIBITS TO SEC’S POSITION STATEMENT
                     FOR GROUP 1 OF THE CLAIMS PROCESS


       The SEC submits this Index of Exhibits cited in its Position Statement for the Group 1

properties. Copies of the exhibits listed below are attached to this filing.

Investor Mortgages

Ex. 1: 7752 S. Muskegon mortgage

Ex. 2: 3074 E. Cheltenham mortgage

Ex. 3: 7201 S. Constance mortgage

Ex. 4: 7625 S. East End mortgage

Ex. 5: 7635 S. East End mortgage

Collateral Agency and Servicing (“CAS”) Agreements (representative samples)

Ex. 6: 7752 S. Muskegon sample CAS Agreement

Ex. 7: 3074 E. Cheltenham sample CAS Agreement

Ex. 8: 7201 S. Constance sample CAS Agreement

Ex. 9: 7625 S. East End sample CAS Agreement


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Ex. 10: 7635 S. East End sample CAS Agreement

Payoff Statements

Ex. 11: 7752 S. Muskegon payoff statement

Ex. 12: 3074 E. Cheltenham payoff statement

Ex. 13: 7201 S. Constance payoff statement

Ex. 14: 7625 S. East End payoff statement

Ex. 15: 7635 S. East End payoff statement

Releases

Ex. 16: 7752 S. Muskegon release

Ex. 17: 3074 E. Cheltenham release

Ex. 18: 7201 S. Constance release

Ex. 19: 7625 S. East End release

Ex. 20: 7635 S. East End release

BC57 Loan Documents

Ex. 21: BC57-Equitybuild Loan Agreement

Ex. 22: BC57 Mortgage

Ex. 23: BC57 Title Insurance Policy

Deposition Transcripts

Ex. 24: Charles Anglin

Ex. 25: Kasturi Bagchi

Ex. 26: Jason Jarjosa

Ex. 27: Jill Meekoms

Ex. 28: Maribel Morales



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Ex. 29: Randall Pong

Ex. 30: Matthew Turzewski

Ex. 31: Cecilia Wolff

Ex. 32: Mark Young

Ex. 33: J. Bushnell Nielson

BC57 Litigation Materials

Ex. 34: Report of J. Bushnell Nielsen

Ex. 35: BC57 Responses to Standard Discovery

Ex. 36: BC57’s Answers to SEC’s Interrogatories

Other Documents

Ex. 37: September 18, 2017 email from K. Bagchi to M. Morales

Ex. 38: September 18, 2017 email from I. Salajanu to T. DeRoo




Dated: January 27, 2022                           Respectfully submitted,

                                                   /s/ Benjamin Hanauer
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                                                  Attorneys for Plaintiff
                                                  U.S. Securities and Exchange Commission




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                                 CERTIFICATE OF SERVICE

         I hereby certify that I provided service of the foregoing Index of Exhibits, via ECF filing,
to all counsel of record and Defendant Shaun Cohen, and to all claimants via the Receiver’s
email distribution list, on January 27, 2022.




                                              _/s/ Benjamin Hanauer_______________________
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                                              One of the Attorneys for Plaintiff




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